                 Case 2:12-cr-00323-GEB Document 13 Filed 12/06/12 Page 1 of 3


 1   Tim A. Pori (SBN 189270)
     John F. Baumgardner (SBN 275674)
 2   LAW OFFICES OF TIM A. PORI
     521 Georgia Street
 3   Vallejo, CA 94590
     Telephone: (707) 644-4004
 4   Facsimile: (707) 644-7528

 5   Attorneys for Defendant MYRON JACOBS

 6

 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11
     UNITED STATES OF AMERICA,                         Case No. 2:12-CR-00323 MCE
12
                             Plaintiff,
13                                                     STIPULATION REGARDING
     vs.                                               EXCLUDABLE TIME PERIODS
14                                                     UNDER SPEEDY TRIAL ACT;
     MYRON JACOBS and                                  FINDINGS AND ORDER
15   STACEY JACOBS,

16                           Defendants.

17   ________________________________/

18

19                                             STIPULATION

20          Plaintiff United States of America, by and through its counsel of record, and defendants

21   MYRON JACOBS and STACEY JACOBS, by and through their counsels of record, hereby

22   stipulate as follows:

23          1)       By previous order, this matter was set for status on December 6, 2012 at

24   9:00 a.m.

25          2)       By this stipulation, defendants now move to continue the status conference

26   until January 31, 2013 at 9:00 a.m. and to exclude time between December 6, 2012, and January

27   31, 2013 under Local Code T4. Plaintiff does not oppose this request.

28   ///

                                                       1
                 Case 2:12-cr-00323-GEB Document 13 Filed 12/06/12 Page 2 of 3


 1          3)       The parties agree and stipulate, and request that the Court find the

 2   following:

 3                   a)     The Government has represented that the discovery associated with

 4   this case includes, to date, 4423 pages of investigative reports and related documents in

 5   electronic form. All of this discovery has been either produced directly to counsel and/or made

 6   available for inspection and copying.

 7                   b)     Counsel for defendants desire additional time to consult with their

 8   respective clients, to review the current charges, to conduct investigation and research related to

 9   the charges, to review discovery for this matter, and to discuss potential resolutions with their

10   respective clients.

11                   c)     Counsel for defendants believe that failure to grant the above-

12   requested continuance would deny them the reasonable time necessary for effective preparation,

13   taking into account the exercise of due diligence.

14                   d)     The Government does not object to the continuance.

15                   e)     Based on the above-stated findings, the ends of justice served by

16   continuing the case as requested outweigh the interest of the public and the defendants in a trial

17   within the original date prescribed by the Speedy Trial Act.

18                   f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §

19   3161, et seq., within which trial must commence, the time period of December 6, 2012 and

20   January 31, 2013, inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), B(iv)

21   [Local Code T4] because it results from a continuance granted by the Court at the defendant’s

22   request on the basis of the Court’s finding that the ends of justice served by taking such action

23   outweigh the best interest of the public and the defendants in a speedy trial.

24   ///

25   ///

26   ///

27   ///

28   ///

                                                        2
                 Case 2:12-cr-00323-GEB Document 13 Filed 12/06/12 Page 3 of 3


 1          4)       Nothing in this stipulation and order shall preclude a finding that other

 2   provisions of the Speedy Trial Act dictate that additional time periods are excludable from the

 3   period within which a trial must commence.

 4   IT IS SO STIPULATED.

 5

 6   DATED: December 4, 2012

 7                                               Respectfully submitted

 8                                               LAW OFFICES OF TIM A. PORI

 9

10   Date: December 4, 2012                      /s/ Tim A. Pori
                                                 TIM A. PORI
11                                               Attorney for Defendant MYRON JACOBS

12   Date: December 4, 2012                      /s/ David Fischer (Authorized 11/30/12)
                                                 DAVID FISCHER
13                                               Attorney for Defendant STACEY JACOBS

14   Date: December 4, 2012                      /s/ Lee S. Bickley (Authorized 12/3/12)
                                                 LEE S. BICKLEY
15                                               Assistant United States Attorney

16

17

18

19                                                  ORDER

20

21          IT IS SO FOUND AND ORDERED. The status conference currently set for December

22   6, 2012, is continued until January 31, 2013 at 9:00 a.m. The time period between December 6,

23   2012, and January 31, 2013 is excluded under Local Code T4.

24
      Dated: December 5, 2012
25
                                                     ________________________________
26                                                   MORRISON C. ENGLAND, JR.
                                                     UNITED STATES DISTRICT JUDGE
27

28

                                                        3
